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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


    In re Lion Air Flight JT 610 Crash                    Lead Case: 1:18-cv-07686

                                                          Honorable Thomas M. Durkin


                                                          This filing applies to
                                                          All Cases




                  THE BOEING COMPANY’S FOURTH STATUS REPORT
                       ON REMAINING INDIVIDUAL ACTIONS
        Boeing hereby provides an updated report on the number and status of the remaining

individual actions.

        As previously reported, more than 90% of the claims arising from the tragic Lion Air

flight JT610 flight have been settled. Boeing appreciates the assistance of the mediator, Judge

Donald O’Connell, in reaching these settlements. Boeing continues to engage in good-faith

negotiations through Judge O’Connell on the claims that have not yet been settled. While Boeing

believes that continued discussions will result in settlement of additional claims, Boeing notes

that a few plaintiffs’ claims have been mediated repeatedly without settlement. A few other

plaintiffs who settled months ago in mediation have yet to agree to execute their settlement

agreements and those settlements may not be capable of being finalized. Despite these issues,

Boeing respectfully requests that the Court continue to stay the litigation through the end of 2020

and allow the parties to continue to engage in mediations.

                                           Background
        The Plaintiffs and Boeing committed at the outset to negotiate in good faith to settle these

claims for full compensatory damages under the applicable law as assessed based on the facts

and circumstances of each case. May 17, 2019 Joint Case Management Report at 1. The Court

adopted the parties’ proposal and struck all pending deadlines in the litigation to allow the



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settlement negotiations and mediations to proceed. May 20, 2019 Docket Entry. The parties then

began mediating with the assistance of mediator Hon. Donald O’Connell, former Chief Judge of

the Circuit Court of Cook County. The first mediation was held on July 16, 2019. The parties

have made substantial progress resolving claims over the past year, including using virtual

mediations due to the COVID-19 pandemic.

                                  Status of Individual Actions
        Detailed information on the filed cases is provided below, but the following charts

provide a high-level summary of the status of the claims brought in the litigation.


                                             By Action

                                 Dismissed                   61

                              Expected to be
                                                             13
                                Dismissed

                                Remaining                    9

                                   Total                     83



                                           By Decedent

                               Fully Settled                142

                              Partially Settled              4

                              Fully Unsettled                8

                                   Total                    154


        To date, 83 individual actions arising out of the October 29, 2018 accident involving Lion

Air Flight JT 610 have been filed in or removed to this Court. The complaints in these actions

assert wrongful death and other claims on behalf of 154 different decedents out of the 189 people




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who were on board the accident aircraft.1 Of the 154 claims filed in this Court, 146 have fully or

partially settled and are at various stages of being finalized, as discussed below.

         The claims relating to 124 decedents have been settled and fully dismissed, either as a

result of a stipulation of dismissal or a motion for approval of the settlement.2 These stipulations

and motions resulted in full dismissal of 61 of the 83 actions filed so far, leaving 22 individual

actions that are currently open. A list of those 22 actions follows below. The 22 open actions

involve claims on behalf of 26 different decedents.

         Of the claims for 26 decedents in the open actions, the plaintiffs and Boeing have fully or

partially settled the claims for 18 of those decedents. These settlements are in the process of

being fully documented. Boeing expects that these settlements will lead to additional stipulations

of dismissal and motions for approval of the settlements in the near future. Boeing expects that

the dismissal of these claims will include the full dismissal of 13 of the 22 currently open

actions. Boeing is engaged in settlement discussions and/or mediations with plaintiffs’ counsel

on the remaining filed claims that have not yet settled.

         Considering all claims without regard to whether the claims have been filed in this Court

yet or not, 175 claims have fully or partially settled. The claims for 33 decedents that have not

yet been filed with this Court have been presented to Boeing’s counsel by various plaintiffs’

firms. 29 of these 33 unfiled claims have already fully or partially settled. Boeing is engaged in

settlement discussions with plaintiffs’ counsel on the remaining unsettled, unfiled claims. Boeing

expects that many if not all of the 33 currently unfiled claims will eventually be brought before

this Court either through amendment of existing complaints or the filing of new actions.




1
  Although the claims relating to some decedents have been included in multiple, separate actions, there are 154
different, unique decedents represented in the cases filed to date.
2
  A dispute has arisen between plaintiffs’ firms with regard to two claims that settled at a mediation in February. The
scope of the dispute includes the issue of whether the plaintiffs agreed to the settlements or not. For the time being,
Boeing continues to consider those claims as settled, but notes the dispute for the Court’s information.


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                            List of Currently Open Actions

              CASE NO.      CASE NAME

            1:18-cv-07686   In re: Lion Air Flight JT 610 Crash
                            Saputra, et al. v. The Boeing Company

            1:19-cv-00797   Kurniawati v. The Boeing Company

            1:19-cv-01552   Chandra v. The Boeing Company

            1:19-cv-01588   Ellisa v. The Boeing Company

            1:19-cv-01601   Subekti v. The Boeing Company

            1:19-cv-01623   Pranata v. The Boeing Company

            1:19-cv-01701   Wijaya, et al. v. The Boeing Company

            1:19-cv-02214   Putra v. The Boeing Company

            1:19-cv-02764   Oktaviani, et al. v. The Boeing Company

            1:19-cv-02774   Agnes Tjandra, et al. v. The Boeing Company

            1:19-cv-02919   Rosanna Simarmata, et al. v. The Boeing Company

            1:19-cv-03415   Soegiyono v. The Boeing Company

            1:19-cv-05217   Komar, et al. v. The Boeing Company

            1:19-cv-05220   Liyanah, et al. v. The Boeing Company

            1:19-cv-05311   Soegiyono v. The Boeing Company

            1:19-cv-07091   Smith, et al. v. The Boeing Company, et al,

            1:20-cv-02643   Abidin, et al. v. The Boeing Company

            1:20-cv-03248   Zen v. The Boeing Company

            1:20-cv-04137   Suryati v. The Boeing Company

            1:20-cv-04795   Erni v. The Boeing Company

            1:20-cv-05498   Sethi v. The Boeing Company



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              CASE NO.          CASE NAME

            1:20-cv-05773       Khan v. The Boeing Company


                                            Conclusion

        Pursuant to the mediation process approved by the Court and with the assistance of Judge

O’Connell, the parties have made remarkable progress in resolving these claims. While some

issues have arisen with a few of the remaining claims, Boeing believes that additional claims will

be resolved through further negotiations and mediations. Boeing therefore respectfully requests

that the Court continue to stay the litigation through the end of 2020 and allow the parties to

continue to engage in mediations.

  DATED: October 13, 2020                     THE BOEING COMPANY


                                              By: /s/ Mack H. Shultz, Jr.
                                                 One of its Attorneys



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                                 CERTIFICATE OF SERVICE

        I, Mack H. Shultz, Jr., certify that on October 13, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to all attorneys of record. I also certify that I served the foregoing by email to the following
attorneys:


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I certify under penalty of perjury that the foregoing is true and correct.

DATED this 13th day of October 2020.


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